Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 1 of 99




                  EXHIBIT 10
                 Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 2 of 99




              From: CN=Ray GrigsbylO=rsi
              To: CN=Brian Slepko/O=rsi@RSI
              Sent: 1012012009 06:00.53 PM
              Bcc: CNRay Grigsby/O=rst
              Subject: Soles presentations 10. 20
              Attachmcnts: SALES PRESENTATION 1O_20.zip

              Brian:

              This is a lot of material however. I figured the more the better and I can trim back as they communicate their questions.

              The zip within the zip is stuff they should have on their laptop always for many of the saine questions I ficar troni every call.

              Ray


 (            Regards.

              Ray Grigsby
              Vice President, JO Edwards Supporl Services
              Rimini Street, Inc.
              303 690-7487 (office)
              303 406-l980 (cell)
              rgrigsbyiriministreet.com
              WWW.riminislreot.com


              SALES PRESENTATION L O_20.zip SALES PRESENTATION i O_
                                                                     íti
              CONFIDENTIALITY NOTICE
              The infomiation in this message, including any attachments, is confidential and is intended only tor the addressees. If you are not the intended
              recipient of this message please promptty delete this message from your system and notify the sender




Highly Confidential Information Attorneys' Eyes Only                                                                                                              RSIO31 12035




                                                                                                                                                  2DEPOSITION I
                                                                    PTX_0199 Page 1 of 98
                                                                                                                                                        EXHIBIT -I
                                                                                                                                                             2L
                                                                                                                                                  L
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 3 of 99




                              Rìmìn Street
                              Redefining Enterprise Software Support



                                JDE Business Process Models

                                           October 19, 2009




                                                                       Rimini Street
                                         ccrd1-P1* SUueL 2009




                                    PTX_0199 Page 2 of 98                                    i
Highly Confidential Information Attorneys Eyes Only                                    RS103112194
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 4 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                  JDE Business Präcess Models.




                     Financials   Distribution   Manufacturing   General Business   Sales Force   Service   CRM




                                                                                                     Rimini Street
                                                          CsnÜa Pii Sheet 2009




                                                  PTX_0199 Page 3 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 5 of 99


    Oracle JD Edwards Enterprise One
     Rapid Start Fundamentals




                     Firiaricidis   Distribution   Manufacturing   General Business   Sales Force   Service   CRM




                                                      Financial Management
                                                                                                       Rimini Street
                                                            cCrdnraI-Ris Sueel 2O9




                                                    PTX_0199 Page 4 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 6 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         Process and Rolé Scenarios




                                                                      Pror Mr,I
                                                                        P3yrrents
                                                                                        H
                         Aounts               C,ete Macfl anø                                     AnaPze ArX.otnts   -o AwrtS PayOblo
                         Payase               Prqcoçs 'iotchqçs                                       Payatle              PenodEM
                         $taff
                                                                     Proton Art,rnoü:
                                                                        Paynrerto




                        Accòunts Pa able
                        L]
                             Fnotinrro Ö,o.




                                                                  cCflrdMoaj R      Street 2009




                                                          PTX_0199 Page 5 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 7 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         CREÀTÉ MATCH AND PROCESS VCUCHERS
                                         Enter Standard and Rocornrg Voac000
                                                         PO411

                                                 E9cr Sp cd Voosharo                                          Post Voocher Sat:hes
                                                       F04 115V                     H                               009801
                                       Enter Mottrte VoocirOts loe a Srng5 Supoka
                                                          PO411
                          ounts                                                                                Re.n,n. Deine Void
                         Fayab4e       Enter Mritr Voochesto, Molele Spptrern                                      V000trors
                         Staff      L                                                                                PO411
                                              Ente, Prepa,rn,ord Voocrteto
                                                         PO411
                                                                                                               Post VotO osm0I
                                              Prvoss Rcc,grnQ Voodners                                         Erg, es ont ,lorjmeI
                                                      fl04d toi                                                  Erl,5 Revision


                                    P            Enei ioggoc VOOCI'toOO
                                                          PO411
                                                                                    H
                                                                                          ReslewVte
                                                                                          Odîne attO Post
                         ,ccount                                                         S.I.ctsd Satth.s
                         Payab                Re5strtbste 100200 Voactr005                    P0011
                         Matiager                       PO420
                                                                                        Post VoothenJoannat
                                                                                              R043S
                                                                                                                                      I
                        Accounts Pa able

                                                                                                                             Rimini Street
                                                                  CrdendRi.inI SIteet 2009




                                                   PTX_0199 Page 6 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 8 of 99

    Orade JO Edwards Enterprise One
    Rapid Start Fundamentals




                        PROCÈ'PVt4NUAL PAÊNTS
                                        Close Prepayttiet VCuth&!
                                                  '041 ir

                                         LntrMa,sI Paymeetfm
                                             En.ntrn Votailtot
                                                 P0.I1M
                          oUnts                                                                                                 Rws.oe Vclø
                                         Enter Morinol Paymenrend
                        Payable        Stondaid Votther Sttoneonsty-                                                       -. Mesual Payment
                        Staff                     PO411
                                                                                                                                  PO4 3J
                                        Ent.drual Paymenr and
                                       SSeodVorrchrser.nlarreondy -
                                                  PO411

                                                                                 Renew MannS
                                                                        -, Payments Onkre and
                                                                            PslSetotle4 EntOles                               towow and Post
                                                                                     Podi                 Pcs, Marna?
                                                                                                                             PenanO ne Verdad
                                                                                                      0 Payment Batches I-    Mantel Payment
                                                                                  Prat Me,taI                ?09ndI
                        AccOunts                                        '-0      Payaient Journal                                 a0011
                        Payable                                                      PO431
                        Manager                                                  ReaOw Manu
                                                                                                          PoalMannal
                                                                              Psyet.ri slid Vooctir
                                                                                                         Payeront arid
                                                                        -0       EatclresCrnne
                                                                                                        VoccIrer Balotes
                                   4                                          Post Srrkrotnd BOcios
                                                                                                           .'roneot
                                                                                     POd 11



                       Accounts Pa able

                                                                                                                                     Rimini Street'
                                                                 Conrdorrtial- Rrini Stre.t 2009




                                                  PTX_0199 Page 7 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 9 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                                                                                                          Reprint Payment
                                      DeSerten ash                                                           Feçte'. f
                                       Requirements
                                                                                                             heces vary
                                          R04431
                                                                                                             P05213

                                                                                                          Upitrloovd Poni
                          ccounts     Update Vovwtmrs
                                                                                                          Sonptmr Payment
                                       ter Payments
                         Payab'e          PO4 lIS
                                                                                                             ReCCrds
                                                                 Review VOvOeç$                               PO4 57 t
                         Staff                                     SI.ctsdfee
                                                                 Paymonton no
                                      Create Payr'ent

                                          R04570
                                                        -             PO4071

                                                                 Pent 7m VOsvthers
                                                                                     -p
                                                                                          Cen.ra!ervd
                                                                                          Petri Sqrrder
                                                                                           Payments
                                                                                                           VmS Aanmebc
                                                                                                            Payments
                                                                                                             P34lY4
                                                                                            P74571
                                                                    Salentod fue
                                                            -t       Payment
                                                                      504 57

                                                                                                                          Review Void Payment
                           ounts                                                                                           Saltitos Ornino wed
                                                                                                                          Select Rattliesto Pest
                         Pziy.st,Ie
                                                                                                                                 Pool'
                         Manager
                                                                                                                          Purl At Void Payment
                                                                                                                                 batches
                                                                                                                                50:1801



                        AccoûntsPa able
                                                                                                                                          Rimini Street
                                                                   Cenrdeestal Ryti SUest 2009




                                                    PTX_0199 Page 8 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 10 of 99

    Orade JD Edwards Enterprise One
    Rapid Start Fundamentals




                        ANALYZE ACCOUNTS PAYABLE
                                                iI
                                            nont Poym.nt Detof s
                                                  F04424                                            E.J3,ce& as ola Spoofic Dolo
                                                                                                              R044I3C


                                          Pint Su86.ctsd Deulcete            Genenate Tobes
                                                 Payments                        fo, osof
                                                                                              f1 Detas000faSp.cScDote
                                                  004001                                                     6044 230
                                                                                 R04901A

                         Accounts     Pflflt Opon Ac5rne'tC Peyab61
                         PaySbfe            Batalces Dy SopO«                                  _J     DOta,Oeattl Ag ny as ola
                                                  004413                                                    bOccino Oat O
                         StatT                                                                               6044230

                                      PIjo, Oyen Vo,xho, Py lle.,s
                                                bySopphel
                                                 RO.1423A
                                                                             Anoiyze Sopnr
                                                                             Payneni Trends
                                                                                F04602
                                      Pnat Oyen Vo,olw P0y tons
                                            tUt A9bfSWatet
                                                 R04423B




                        AccoùntsPa able


                                                            Confdeotial 66161f SOest 2009




                                              PTX_0199 Page 9 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 11 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PROCESS ACCOUNTS PAYABLE PERIOD EN D

                                       verlyBaim            VortyealCfl       VrfyOpn          VentO f100117
                                    AtnO,nlC Balance     frneonla Balance        1n   FOt1       Botwenn
                                                                            TaldeBala-nielo
                                     8etwdflF34h1 n Behya,nF14
                                    andFO9ll Tabac   anCFO9ll T000n
                                                                            AoTtndeaOwt n TrannactIowsand
                                                                                             Batclt 0000015
                         Accounts                                            at 10011 m
                                        001701               RC4702A                             ROC7O2I
                                                                               R047001A
                         Payabte
                         Staff
                                     Venfy loeyety         Vena', BeOnt
                                                                                                Port nosted
                                    Between BMCfl W       Between Betcl V    Pant Unpoated
                                       Heayen and      . H.fler, and            Batch
                                                                                              Bnce eat on
                                                                                               Out nl Balance
                                       Trdr$aCtonS         tasact,onn          ff007311
                                                                                                 R007037
                                        1a007031             B 00703 1




                         Accounts
                         Poyablo
                                                                                                                Claco Acoeninls
                         Maroge                                                                Clone Penad
                                                                                                                Pay.ble loi Yee
                                                                                                  l'mio            Ro.4e2ad




                                                                                                                                  1,
                        Accounts.Pa able
                                                                                                                        Rimini Street




                                                 PTX_0199 Page 10 of 98
Highly Confidential Information Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 12 of 99

    Oracle JD Edwards Enterprise One
     Rapid Start Fundamentals




                          Prøòess ànd Role Scenarios


                                           Process Customer
                          ,ounts                 pio 01CC s

                                                                                          process Accounts
                          Recevabe                                 H Sriatyzn Ac0000ts        eeoovabIe
                          Staff                                            Resero at le
                                                                                             PeonO ErO
                                          Ppmccss
                                                Receets




                          CredIt and       Penceso Slaterriord,
                          Ccflecbons                                    Ariyee AccoortO
                                              and Mana;o
                                                                           ROcOro at lo
                          Nnragec              Coi eones




                         Accounts Receivable
                        E User Roo
                           EnaRCo Cnn


                                                                                                             Rimini Street
                                                              CcnÍdeRbr* Stee% 2009




                                             PTX_0199 Page 11 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 13 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PROCESS CUSTOMER INVOICES
                                             Enter            Review          Pt scese
                                       U usoIbneejs 3rd      R.wwnrvg        Roc.yrs
                                       RecnrnQ Invoices   invoices Ofli nc    InvOrCOC
                                           F09001            PO 0 120        nc208 ic t
                                             Enter
                         Accounts        Micetaecos                                                                    Preti kvve.ces
                         Rece vae        Sec inOC.                                                                       0030535
                         Staff             p03a us

                                        t3CbaII Upaste                                                                Reves.. 0.908
                                           tr,ne.CS                                                               e   ve Veut e.e.C.,
                                           00E3R1 14                                                                    50332002


                                                                                              Review flyOrcen
                                                                                                                      Regent and Soit
                                                                                              Ot4n,e wut Poet
                                                                                                                      Invece Rentners
                                                                                              Setected eatctr.I
                                                                                                                          POOl t
                                                                                                   P9011
                         Accounts
                                                                                                Pnstinrroco
                         Recsvate
                         Narager                                                         IJ
                                                                                                   JOignis
                                                                                                  10030390
                                                                                               SCSI au iwl0CI
                                                                                                  Debit,
                                                                                                  00980


                        Accounts Receivable.

                                                                                                                                Rimini Street




                                                 PTX_0199 Page 12 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 14 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                     4I iti: I            -îr.i ç
                        :PR0CEsS MANUAL RECEIPTS
                                             Eroe, Joapptcd. Non Coriorno:.
                                                   and ,5phed Receipts
                                                        P033 102

                                                EnlerUniOpied. Loggec.
                                                                                                                     Pilot By Recopia
                         Aaunts                Balance rorward, ara Lyon-
                                                                                                                    Dcposted Oi ihn Day
                                                   CisçtOinOr ROcoplto
                         ReceaLe
                         Staff
                                                       P0330301               F                                           KlJyItaUg

                                               ÀgsCssstomor to Logg.d                                                Reviso. Void arg
                                              RecodE    ø Apply Recopilo                                           Desu3nale Recepto as
                                                        OcelOt                                                        frlststi000t runas
                                                       15033102                                                           P033 102

                                         j     Ay t.rapp000 R0co.o
                                                       PO3B 102
                                         L_
                                                                                       Reame Renania Onieso       RejIto Receipt Renit,cn,
                                                                                  e and Pout Secled Batches       Orlino and Posi Seloylod
                         Aounts                                                                P0011                      BasUreo
                         Pocavab!o           Enter Jnacsea, Nnn.Cos:anet.                                                  P0011
                                               and Appcd ReceiptS Using                 Pint Rece p: Jojmnl
                         Marager                    Manager I mus                            R33831 i
                                                       P033102
                                                                                      Peil All Receipt BalcInna
                                                                                               RC9dOI



                        Accòunts Receivable

                                                                                                                                      Rimrti Street
                                                                     Corufdetdial Ruoli St,eetZOOB




                                                       PTX_0199 Page 13 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 15 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PROCESS ÓUSTOMER DEDUCTIONS

                                       Gonpral, flndtirtbm
                                          e,th RenipI
                         Aounts             PO3B 102
                         Recevatie
                         Staff
                                       Generato DCCUC000
                                         a,trOrA Rortapi
                                            P0382002




                          ccounts
                         Reabc                                Renew and Pcs1
                                                              D1oct,on faIth
                         MOnoger                                  P0011




                         Credt and
                         Ccectrcns                           Reto&e DeOnCDOfl
                                                                                  Hnrev and POSI
                         Martoger                                               Dn0nnton Rnoclotwo
                                                                 P03840
                                                                                      82011


                                                                                                            I
                        Accounts ReceivabIe:

                                                                                                     Rimini Strect




                                             PTX_0199 Page 14 of 98
Highly Confidential Information Attorneys Eyes On'y
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 16 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                                                3


                         PRÓCthS STATEMEÌ'JTS AND MANAGE COLLECTIÒNS
                                            UPU0O IflVOCOl l'OEil           CaneraIs CusL,iner               Revew Ct.sIaet
                                               Adø,nnn 000k                    SIsICrilnirIs                     Staie'nents
                                                  R038&0                       60365)05                           P038

                                                                                  Review C sewnee BalancesOndnve
                                                                                                 P036216

                                                                                       Pant Cuslarres Bularces
                                                                                              0038 155
                                              UpCateCusIornel
                                                                              Renew Cuulcne Bslarres By ParerrVCh5d
                         Crodit and               BoL,
                                                                                                 PO3B 151
                         CcUections               Rû311525
                         Manager                                                       Rev4owCuslo'nor Crodi
                                             Review Coytome;                                 P03B305
                                       I
                                              Acholes Önhne
                                       L         P038131                                Pli lt CIection Repott
                                                                       H                         R036061
                                           Pnry C0slOOEr     ctweS
                                                  R0303l I

                                                                                 Rorruw Stattrtual IntorrnatoO Ontina
                                             ConviaIs S:avstca                                 P03B16
                                                 InlorniOliOn
                                       L         003616'.                             PilaI Statoircal 1fl1Ism3600
                                                                                              80)01601
                                                                                                                                      a
                        Accouñts ReceivabIe.

                                                                                                                               RIminI Street
                                                                on1dsn1ia        Süeet 2009




                                             PTX_0199 Page 15 of 98
Highly Confidential Information Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 17 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                                         2.
                         ANALYZE ACCOUNTS RECEIVABLE



                                               Prr, OpnnAcoontri                 PrnIAR Sbtritci.
                                               ReceiaUeOawices                 Inlorrr,atcnri,tir A9'nn
                                                   RC33413A                           R03t3 150


                                                                                  Pni Cinromei
                                               Print Op.n triO.CinS
                                                                                  Inn5e Treirds
                         Accounts                 RO3B42tA
                                                                                     805010?
                         Revore
                         staff
                                               Print Cren Irinnsoes               Print CuEnmet
                                                    rinrh Agrig                  Paprieritirendri
                                                  R03B42)tt3                          RO 3E 158



                                               Pnflt PP Strit rirca

                                                    P038165




                        Acòounts ReceIvable:

                                                                                                          RiminI Street
                                                      Cnnrlriieit.aI Pr' SOnni 2009




                                           PTX_0199 Page 16 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 18 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                          'ROSS ACCOUNTS RECEIVABLE PERIOD END

                                                                            Venfy Open Anotaste
                                        Vera'1 BUt       Verny Barco                                VestI IntegriTy
                                     Amounts Balance   Amounts Balance
                                                                               rF0l8tiTsbI             Batata n
                                                                            Patsuo tnO(tuethnQ
                                     BcMen FC381 T     Botonen 038l4                               Tr3nSacLOsnS 3r
                                                                             Trade Arrdent$ e,
                                     andFO9li Tabes    ano F091 t IcOes                             Balco HeCrietS
                          ountS          PC3BTOS         AdyOBI ¶91
                                                                                F0102 labio           R00732t
                         Revabe                                                  P019737
                         Staff              4
                                       Ven$y BeQety
                                                                              Prat Posted
                                       Betonen Barco    Pto,l UTPCEed
                                                                            BOtthc. that c
                                        Heaur; and        3.1:1ra;
                                                                             era o Balance
                                       l,ar.sactrins      R0070r i
                                                                                9007032
                                         P007031




                          ounts
                         Rcvab                                                                                           Updatc AR
                         Uan3ge                                                                   Close Penod         Otatisbat lcr Year
                                                                                                     P0050                  End
                                                                                                                         P02016'




                        'Accounts Receivable:
                                                                                                                                           I
                                                                                                                               Rimini Street
                                                           Confdenttial Per3ra SBael 2009




                                                 PTX_0199 Page 17 of 98
Highly Confidential Information - Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 19 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         END-TO-END PROCESS
                         Enterpnse
                         Asset     V                                     Analyre As.t LifC5CI MaflaQeM'I




                         Asset                 Auire Assets       Prpar. and
                                                                                                                     Raum Assets
                         MnaQer                                  Depo    s,eu



                        Asnet
                                                                                   U2eAsnds
                        Custodian



                         Property
                         Manager
                                                                                     Ma.,ae
                                                                                   Preporty and
                                                                                                  ì
                                                                                   Re Estate




                         Ma,teeance
                                                                                                      Matan Assets
                         Manager



                           FioGrss Sreorre1 D Eaeipn-.o Ouo Faoe Ai OQ
                                                                                                                                   f
                                                                                                                           Rimini Street
                                                                cairdanEi Rk-d su..ioog




                                                     PTX_0199 Page 18 of 98
Highly Confidential Information Attorneys Eyes Only
          Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 20 of 99


   Oracle JD Edwards Enterprise One
   Rapid Start Fundamentals




                        Process and Rote Scenarios




                         Asset
                        Nar'ager           Record A,tet             Paisf er Asset,   Circo Froc Atrero
                                                               a.
                                            Acqiost m                Srir Asset




                                                                    Reord Asset
                                                                     R Ob r. mort




                        FixedAsset Accountin'
                       E 05M Roo
                          Fn's,iorrefln.


                                                                                                          Rimini Street
                                                          onfd.adjRii*d SUuei 2009




                                           PTX_0199 Page 19 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 21 of 99


    Oracte JD Edwards Enterprise One
    Rapid Start Fundamentals




                         RECORD ASSEThCQUISITION

                                        Onto: Asset Waste!
                                             Resends
                                              P1224



                                        tipdote Won-F.oed
                                           ASstt Ent,ies
                                              P12003

                         Asset
                         MarAger        Spit Ur octod Food     AssçnMsI Moetbens
                                           Asset Entnes         toçost 11Rtsdctsrts
                                             P52102                   P 12 t 02



                                        Posi Costs to Food
                                                                  Pnttt PostogEdi             Revoleo Cools Potted
                                       Assets totAssets ola                           Cooed
                                                                       R.pott                   to P:ogd As.ts
                                              RatnIt
                                                                      F012421                      P122101
                                             P12000

                                        Post Cost to Fod
                                         5setsIol fldtotdoal
                                             Asset,
                                             P t 2 t 02




                         Fixed Asset Accountin a

                                                                                                             Rimini Street
                                                               CsPdjRatsti SUeeI 2009




                                                  PTX_0199 Page 20 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 22 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         DEPRECIATESSET




                                                                                     Ro,ew Dep'ecjalcn
                                                                                     BhneOnneand
                                                                                    Pe.t Sanded   BIr.t
                                                                                          P00th
                          sseI
                                       Reew Dcp,ocnlhcn                                                         Post OepeCatonto
                         Menager          Infpnat.on
                                              IO4
                                                          h   Ccmte Depreoahcn
                                                                   R12855
                                                                                                           -,   the Danotil L.C9SI
                                                                                                                     R09801

                                                                                    t1e1ew DeDeo3Cfl
                                                                                 -0      MrnufltS
                                                                                          P12214
                                                                                                          f.




                         Fixed Asset Accountin


                                                          Conlidenliat Rh*i Sheet 2009




                                       PTX_0199 Page 21 of 98
Highly Confidential Information - Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 23 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         TRAÑSFR ASSET, SPLIT ASSET




                                                TraniforAssats io a       etereo Asset   Post Asset Transfers
                                                 DifeRol CCOse1t            Transfert     toGenegar Longer
                                                     0121)8                  P0)11
                         Asset
                         Marager

                                                Spat ASSO! ano POS!
                                                    Artel SpIt
                                                      P12124




                        Fixed Asset Accouñtin

                                                                                                                Rtmini Street
                                                            Conrejefta&Rr*4 Sfreet2009




                                           PTX_0199 Page 22 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 24 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         RÊ'ÖDASSETRETIREMENT




                                                                                                 RoytOw ard Post
                                                  of
                                              ASS Cf              -.
                                                                       005f DspcsaI
                                                                       GooraILe00&
                                                                           RCA01
                                                                                      0
                                                                                           -    O,ep000I Enhes Io
                                                                                                  Fnsed Assely
                                                                                                     P12I00
                         ,sse
                         Marge
                                                                               nd Post
                                           SDOSOO( I4ubpfe                                     Posi Doposa BatcPas
                                                                        posai Entiles by
                                              Asfeti                       R,Icp
                                                                                                  to red AsSets
                                             R12104                                                  R 2800
                                                                             001l




                        Fixed Asset Accountin.:

                                                                                                                     Rimini Street
                                                         coerdenbal RPtì Stse.2OO




                                           PTX_0199 Page 23 of 98
Highly Confidential Information - Afforneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 25 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         CLÖSE FIXED ASSETS

                                         rnnt UnpOBed rd
                                            Mtet ErtOrO!
                                              R 12301



                                           ves,7 BtegnI              V.rl lrtrt
                                           BetweenAssel            Between Accota:             Research htegflty
                                        Balances and AccOunt      Baancos flac Ascot                lOGuOG
                          sset                Balances                EaIalces                    9127012
                                             R 127011                 9121013
                         Mar.sger


                                                                 Process Depr.oetinn       Pr,rg Deprenatort
                                         cq.castUeroec.a2m
                                              A 12 055
                                                                      P,oectors                Proctosrs
                                                                        R1388                    912859




                                                                                                                   Close Fiscel Vea,   I
                                                                                                                       912825          I




                         Fixed Asset Accountin !

                                                                                                                                Rim in Street
                                                               Confeleotiat RÌ*1I SU.et 2009




                                                 PTX_0199 Page 24 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 26 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                          Ctaf
                          Firancal
                                    iji
                         END-TO-END PROCESS

                                                         Ifl,fl3I
                          Officer                       Centro&s



                          Budget                          anae
                          Manager                       BuøgetS



                          Grant                         Mnnngn
                          Manager                        Gyals


                         Tax Manag                      Mnnag.
                                                       Trag.yacI



                         General
                                                                                Capbaa
                         Accountng
                                                                               Tmnsac*ioI*
                         Manager        ..



                         Financ                                                                        Fn3nØ
                                                                                                     Repobng and
                         Anaiyst                                                                      ArIy

                       [j Protons SoDPøylei Dy En*aeao Ore Gornrnl Lrrarr


                                                                                                                   RIminI Street
                                                                            Cani     Ri* 8lnny2OO9




                                                           PTX_0199 Page 25 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 27 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         Process and Role Scenarios



                                                           Entac and Ronow
                                                      -    Annwd Dotada,,d
                                                          Joulr,aI,Zoø BuJOe
                                                                                           Rewen rrnanoal
                                       MegoAccotbng
                         Finan3I          SEClore
                                                                                            Roporis and
                          cuntant                                                             InsÑ..s

                                                           Ente,. Pev,Cw and
                                                          Post Journal Eitles
                                                                                                          4ana AOs,1
                                                                                                          Recnnclista,




                        Genéral Led er
                          Usot ROO

                          Fn'kCn.



                                                           1ondR               Sbet 2009




                                              PTX_0199 Page 26 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 28 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                             .ÏjjÎi                                       u4j
                         MAMAGE ACCOUNTING STRUCTURE

                                         Ado Company AcOlO;                Odd a Fecal Dot.
                                                                                                  Adda Cctnpony
                                             9OCO R000ed                       Pattern
                                                                                                      P0010
                                               P0 t 0 12                       P0010


                                                                           Print Baa,ncSS Unit
                                          Adda Ooser.      tini              Mosler Re0cr
                                               P0000
                                                                                 P0000

                         Finanaal
                         Accountant         Add Accorads
                                                P0901

                                                                          Print Account Motto,
                                            Copy Acconni;
                                                                                 Report
                                                                                po t
                                         1date Account Word
                                               Seorth
                                               ROSO t WS


                                         Update Orrhrie Char10           Review Optare ChatO ci
                                               Accounts                        AC0000IS
                                                RO 000 P                        P0)001

                                                                                                                        9#

                        Generál Led ér

                                                                                                                  RImInI Street
                                                             ont0JuntiaIRFtcn St,eet2009




                                            PTX_0199 Page 27 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 29 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         ENTER, REVIEW AND POST JOURNAL ENTRIES

                                                                      koy.CwJOLmaI Lntncs
                                       Enter JDurnal Envies r.                                        Post All Jouerai Entry
                                                                         OrIne und Post
                                          Stancard FOrrrrat                                                  Boleros
                                               P0911
                                                                              Pt
                                                                        Selected Botciles




                         FinandI
                                       Cnter Journol Crryie, li
                                        Dnbt'CreOtFcrnnat
                                               POSI'
                                                                  -   Fest Journol Drlñnr. by
                                                                              Botch
                                                                             RGS3OI
                                                                                                 b
                                                                                                      Pont JQorai Cr'toe,b
                                                                                                             Account
                                                                                                             003311
                         Pountant

                                                                                                      RoorlO. Doter.. o. Vorr
                                                                                                -ot      Journal EnInes
                                                                                                              P0911




                                                                                                        POst ROor.00s lo
                                                                                                         Josenat Envies
                                                                                                             0038Cl



                                                                                                                                I
                         GeneraI Led er.

                                                                                                                        Rimini Streel




                                                 PTX_0199 Page 28 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 30 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         ENTER AND REVIEWANNUAL DETAIL AND JOUNALIEO BUDGETS
                                                                                    EntenAnrro     gadget
                                                                                        Dy ACcOm.tmI
                                                                                          P14102
                                                  p_-flt S
                                                                Cea1. BedGet                                SçaoadAnrorsl.dgols
                                                                 PattOarCorie                                    IO POISOdS
                                                                   P02001                                          RI 801
                                                                                    EeSseAnru Badgit
                                                                                       y Bss ness UrB
                                                                                          P14102

                         Finanoal
                         Acountan                            Enter Poned eager         Rentow dçw
                                                   Da
                                          ypo                                         Ormnoby Poned
                                                                    P14101
                                                                                         PO9O2PS


                                                                                              serf Post
                                                              Enter buriget 15155
                                                 Joura.d        Jedrtrel EstImo
                                                                                       Saig em Jor.mn        Renew eragetonbno
                                                                                      EnEros by BoOr              '09200
                                                                     P091 I
                                                                                           Pool'

                                                                                                              PrnI arti CorEare
                                                                                                            AnmsatII,4get3I0Ad.
                                                                                                                  ArnOnEls
                                                                                                                   R jallo

                                                                                                                                   I
                        .General Led er

                                                                                                                             Rimini Street
                                                             ccnrderaIPrthi S1,l2OO$




                                                PTX_0199 Page 29 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 31 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         MANUAL ACCOUNT RECOÑCILIATION




                                       R.conn.Vod.d
                                          Fecelpts
                         Financial        R00552
                                                               3enrat,
                          ncountant
                                                               concd,lbCfl            R.ce Accofl1   PJl,* Reonabaon
                                                                                                         Repa.t
                                                               Wokf                     poait           R09132P
                                                                Ø9JO
                                       Rncon,I Vodnd
                                          narneflTs
                                          R00551




                        General Led er.                                                                                :


                                                                                                               Rimini Street
                                                       Can1,denti R'     Stnet 2009




                                              PTX_0199 Page 30 of 98
Highly Confidential Information Attorneys Eyes Only
            Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 32 of 99


     Oracle JD Edwards Enterprise One
     Rapid Start Fundamentals




                          REVIEW FINANCIAL REPÓRTS ANQUIRIES

                                          Reeiew Fbrancla' ReporUn Pelod Names P8310
                                         Rocmnw Transactons Onboy P35200
                                         4levrew ln    Balan O9yODJoctAcC0lrlI.092l4
                                         4lev.ew TnaI balance by 000983er P09215
                                         .Rnvnc Tnol Balance by Canrpany P06216
                                          Rev*w Tfl Balance P09210A


                          Finanoal       Çeee   Fsran0e Rpj9
                          ,Sccounlanl    .Prwrt Trial Balanceby Gas.ne   Uno 609110
                                         4'ncl mal Ba9nceby Oocl A009I R094 121
                                    IA   PmO Dept'C,edii Trial once by Obnd 609473
                                         .Pnnl Tr  C3rnnsby OnyncI A mnr'rIellh.n a Rr,c ness UllA 606420
                                         Prbr1Tlsar.0o,by AcçuunlP09A2t
                                         Prrrl T nsanber 'lc4als by Sonbd8cr R09422
                                         pnnl DemI Orni (renblAmo.lnts '109321
                                         Pnnl Pr      Dlomsby 30eCl 4C109115 ann Sr.bsioiary Poe Selcoled Penad R05424
                                         .PnnL Transclor b', Company f9' BelloteO Pined R09423
                                          P.Int income SlaerreltR 102116
                                         .Pnet BaOncoEhaatR10113
                                         Pool vacance Analys.S 609011 610212A
                                         P641 Vacance AnIyn Roporl IonS Mon9's Rl 341 lA
                                         .PnnlMcetthy SproadsheetRO 126



                         GenérI Led.er

                                                                                                                         Rimini Street
                                                        Coetfdoniial R(*li Sl,reel200P




                                         PTX_0199 Page 31 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 33 of 99


    Orade JD Edwards Enterprise One
    Rapid Start Fundamentals




                        CLOSE LEOGEA

                                    Veeiy !ntn9rity         Ver'y lntegn(y
                                    Beenen Bnlclr             Betreen                   Prod Urposterd              Venly Eatcires         VanlyCoencrany Is
                                      leede s and e TirrSaCtoflS and                          Bathn,                  Braleroe                 vn Balance
                                      Tran,act.cnS         Batth Headerl                     R007C1 ¶                 ROX'032                   R097&Dl
                                       M7lXll                     RDa r 02 1




                        Finandal                                               Pdn nccOonl              °flrl Accorant
                        Aountant
                                                Flint Ccorpann0
                                              and Ernennst Unit
                                                Disae0arrc,es
                                                  0007041
                                                                     s Balanceand
                                                                           Accorati MaVen
                                                                               Dacccpa.On
                                                                                               *         Ledg003nd
                                                                                                      AccctrlMasten
                                                                                                        Daocciraisena
                                                                                                                          ,,,,
                                                                                                                                 Pert Rrbata'nceo
                                                                                                                                  OnO P&rOd by
                                                                                                                                   Ponncd Barra
                                                                                                                                     R0070b
                                                                                R0d7l                     R00702t




                                                     dote POred
                                                       P0010
                                                                       .          Ck,s the
                                                                                 Flaca Vsa'
                                                                                  R09n0I
                                                                                                 -0
                                                                                                               Change Beçrnrang Dale
                                                                                                        o' Fiscal Year ter Ancorada Fayable,
                                                                                                            Accoranls Reccoable. General
                                                                                                        Acccrcntny anni Fananic.ial Rolinelang
                                                                                                                         P0010




                                                                                                                                                               r-
                        General-Led er

                                                                                                                                                     Rimini Street
                                                                   conrden(ialRIp*1i 81ca12009




                                                PTX_0199 Page 32 of 98
Highly Confidential Information Attorneys Eyes Only
            Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 34 of 99

     Oracle JD Edwards Enterprise One
     Rapid Start Fundamentals




                      Firrir;iIs   [)i:jtr   MI1LJIL.F        General Business     Sales Force   Service   CRrv




                                             HUman Capital Management
                                                                                                    Rmin Street
                                                     ConÍ,Jenjal Rh*, Stiet 200e




                                              PTX_0199 Page 33 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 35 of 99


    Oracle JO Edwards Enterprise One
    Rapid Start Fundamentals




                         Process and RoleScénários
                                                                   CoateHR
                         FSeci'uiter                      I


                                        PYoo   Job   __         Poqtositicrc and
                                                              A$SOOate G3nC,3es
                                                                 to R.qost.on




                                                              CoaoIo Enpoyce           Eo Eno3yoo           Moro Employee
                                                                                         cneit flo          e.-ora [vdIInnt

                         hR Spekt
                                                                                       FnIorFh,ro rta



                                                                                       Lpdaffl EnbyOA       T.rNtA Endoyo

                                                                                                        F       Manoafly




                        Human Resources Mana.ement
                       D UsnrRoo



                                                                                                                      Rimini Street
                                                              fdenUalRiini SUeL 2009




                                           PTX_0199 Page 34 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 36 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                          :.j

                         END-TO-END PROCESS

                          Fuman
                          Resources V                                                  Ar.Iyre Rotrubeg




                          Fuman
                          Resource                   Pt.., R.a*itnO
                          Macager     u




                                                                               Recnt
                          Recruiter




                          Lne Manages                                                               EnaTuat, and
                                                                                                          Soct
                                                                                                      Applr,anta
                                                                                                                   e   1e ard Enabti
                                                                                                                        Ra sours us




                        L) F,oeu,s Suuur.0   u EUono Our I-uuun Rouoam. Monear-ten




                                                                      CoF,J.,nti RT*1I 8Iit2OO9




                                                         PTX_0199 Page 35 of 98
Highly Confidential Information Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 37 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PRÖCESS JOB APPLIÒANTS




                         featjter                           Er,r .ppCanl
                                                             hbçn,aIpon
                                                               P00401




                                                                                    I
                        Human Rêsources Maria emerit.

                                                                              Rimini Street
                                                  Conrdo,1ial R*4 Sl,eet2OO




                                          PTX_0199 Page 36 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 38 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                        :Lj
                         CREATE HR EQUSITIONS AND ATTACH CANDIDATES TO REQUISITION




                                                                                        enhlyOofl I
                         Reufler       Add HR Reqdd.00
                                                               Ap$VOoe IR
                                                                                        ApplcanLo o,
                                                                                                       A000ca:eAp2Cant0
                                                                                                          Io Reçu, bOn
                                            P)8102
                                                                 P08102                                      P38102
                                                                                          P060250




                        Hultian. Resòurces Manasement

                                                                                                                   Rimini Street
                                                         Conf,Jenti- Rn6,I Sheet 2009




                                             PTX_0199 Page 37 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 39 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         COMPLETE EÑPLOYEE HIRE



                                              Hue Ereçoyee fcn
                                             Appcart 'nlocrnatìol
                                                   P84OI


                         HR Specialist
                                               1ee EpIuieeVei         A(JlJ   epeisokkor
                                             £mpoyee Guck Fkro      Goneicisry ln?om,OIlon
                                                     1160                  R)83Y5




                                              Hue Ellplø)Oe S
                                            Fmflìnyee Maraemerd
                                                    Pokal




                         Human RésaurcesManasement

                                                                                             Rimini Streot




                                         PTX_0199 Page 38 of 98
Highly Confidential Information Attcrneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 40 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                           J         =iflø i ñ1.jLìÌ                      JiLL
                        :ÈNR0LL EMPLOYEE IN BENEFIT PLANS



                                             peflt Benof t Enrolment             Erwol Employee In Senefil
                                               FOrm bf Emn1oyce                                Pran
                                                    0083130                                  PC8 331



                         HR Spdast
                                             Promt Genort Enrolment                      Enter Erocilment
                                                 Form by G000p                              OenrrrdeO
                                                    0083130                                  Pcn33C




                                             Pont Benet t Enmoinner,
                                               Fron Do Groop ano
                                                   E mEInEn e
                                                                             8       Perform Bald' E,ro lr,nnr
                                                                                      lox fmrIrrpin Frn*ryonn
                                                                                             0083090
                                                    0083430




                        .:Humañ Resources Mana.ement

                                                                                                                 Rimini Street
                                                      Conf.Jeoti- Rïni Stieet 2009




                                          PTX_0199 Page 39 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 41 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                                                                                                                                     1H
                              MAINTAIN EMPLOYEE 8EÑEFITSNROLLMENT
                                           Pets Sen«ts ErtSe.ts bOnI                                                (nerO. Emporre. Enoinneno
                                                                                                                                                Change Emnplojee
                                                                                                                     Ciange Employee
                                                Print Ben0'                                     Perni Bono! t                                      En'Oflnrdnt
                                                                         Pflnl BeneFit                                  Enrolnyoril
                                             Eri.olkrer,l Fixer        Enrol Irireo Farn
                                                                                              Enrolment 0rm                                     Optimes ion Fit4rlS
                                                                                                                     Opbars lix PLeno
                                                                                               yy Comp ned                                           CerterO.
                                              by Er'çloyeø                by Groop                                   Wyhix Enrpoyn.'e
                                                                                                 Ponrbyeo                                         Emi'rinyoe.I
                                                 11003430                  KW:430                                      BereirlGnnrrp
                                                                                                 R003430                                         800.31 Goup
                                                                                                                                                     PO&3


                              HP Spedast                           penai
                                                                   -Ramer øixrnflo Ly EuroEmne PO6I5
                                                                   .Rr-o,ow BoneOn l'y Pen P5033]
                                                                   -Rrinw Nonrnd Onoerolene Relmoneuic, by Finn P005OØ



                                                                   Fnnr hrrplo,en t.rsnrl3 by tenere Cr010 Fi00349
                                                                   -Oneri BennO Eenflr-r.rrrob. Pinn P003453
                                                                   -Fmi BennO! En'nor'mnrtsCuitaje l. Grope P053470
                                                                   Pmnl OnmyAot-.. Bannit E.mnmBnenio Oryrede nl Croop P3$31O
                                                                   -Pint io.Jony F.rtxaprn (noeo CR003450
                                                                   .Pmnl no.310mm ElePeras kr BOnof4o RG&tlBD
                                                                       Oneri Ceix,rdrnl end 3.nelx.ry Croen Releronon PJnrononnadl P083463
                                                                   .0ml GooCrr'lOemt Orel demaindni Eenrm100nn 003:430
                                                                   -Poni C000rol000 rnd Bromerorymeo by 00m ro omm Emptnxn RCO3400
                                                                   Pmnl l&flnfl VilOrrraWr la Dependents arel Sen050ane, 0003451
                                                                       Premi m,n,.3o.ldm,rO LSap.nd.nh 0063156

                        'n'

                          Human Resources Mana'ement

                                                                                                                                                            Rimini Street

                                                                              co.rrdeenttal Ri'*ni Street 2009




                                                            PTX_0199 Page 40 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 42 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         ENTER FUTURE DATA CHANGES




                         I-1R Speaalisl                                   UpdaoE1rrçoVee M3s0e
                                                Enter Filete Data
                                              Ctrangee to' Eieçoe3         irrth Daa Cl gee loi
                                                    Pc6042
                                                                                 Enloyoo
                                                                                     f08394




                                                                                                         t
                        'Huniañ. Resoúrces Management

                                                                                                  Rimini Street'
                                                    Confdei'ttial Rir*1 SUe.t 2009




                                          PTX_0199 Page 41 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 43 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         UPDATE EMPLÓVEE INFORMATION




                         NR Speaalisl                           UIo RcI3to.5r
                                             Iflfmo Nodd -* ßrwceSorvo
                                               uixia'e Errpayae
                                                                   EnplOyCO nd
                                                 P060I
                                                                            P02150




                         Human ResOUrces Mana.ement:

                                                                                     Rimini Street
                                                 CønlinIì Rk*1 SbeeL 2009




                                          PTX_0199 Page 42 of 98
Highly Confidential Information Afforneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 44 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         TERMIÑATE EMPLOYEE MANUALLY




                                                                        Ern Benebts 1er
                                                                    Tomnnal,d EmpIcyO, Por
                                                                     E000I,merL aomarOfS
                         HR Spedaisl                                        P08334
                                           Update Eaptobee
                                            Infernaba, ro,

                                L            Term nabar
                                               po6,.                    Frei Ron.1'e In,
                                                                     Tee,naaleri Ern1.Ioyne
                                                                             Fx:e1,1.on In
                                                                     E1000mert °araineters
                                                                H          P08330




                        Human ResourceS Manasement.

                                                                                              RimIni Street
                                                   e,n1,iLNRr*4 Steee%2009




                                        PTX_0199 Page 43 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 45 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                        END-TO-ÉNb PROCESS

                          I-:uman
                           esurces                                         AIyaWoroce Dpoymant



                                                                         Manaco
                          I-uman
                          Res.3urce                    £raIoee          Erromrt
                                                                        f-ea  arid
                          Manager t                     Reco,ds
                                                                          Safety




                         Line Marrage                                                        Poar.omnid
                                                                                              Achons




                          PaytcH
                                                                                                          Mooce Pariai
                          Manager



                       fl Frocys 5apoie ry Enicirnta Ono Pdr0ÌI


                                                                                                                         Rimini Streel
                                                                  confd«di.-Ri* 8ua.t 200g




                                                        PTX_0199 Page 44 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 46 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                          Pay oH
                         Manaqer           °nx.ss Ernpkyee
                                                               Process POyrOS
                                              Tìmtca,ds




                         Pa roll
                           UWRO




                                                                                Rimini Street
                                             Cart,iRiár SUeet2009




                                       PTX_0199 Page 45 of 98
Highly Confidential Information Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 47 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PROCESS EMPLOYEE TIMECARDS
                                                                                                                  Entnr Sinrrl0r   in nO    rIs Ion a
                                                                                                                       Grorpol Employees
                                                                                                                             P051122
                                       r   S01C
                                           Entry 01010 have Conrm3n                                                Enhrr 1inrovds lcr Mttrplo
                                            Employee 11ter Deeds                                                   Empynes Per Pay Penol
                                                    POS 191                                                                  POTI 121

                                           Seleol Enrployeee lo, ta
                         PaVrofi          Entry SVIto hae CreeO                         TYP.N                          EntnrTirards loran
                                       Tpmeçorrt lrer.sactons Entered                                                   Incon000l Employee
                         Manager                                                        meced'                               P051121
                                                 P05 191
                                                                                                                 ColeO lodrrnio& Trrr1e0dS Poe
                                           Seleci Ernployeee roc Tira                                             Pay Peelod lo, Frreployees by
                                           Enlrr ¶01010 have ISitOErcal                                                   L re DeE, I
                                       TOflocird T ansariroels Posted                                                      P051131
                                                  POS 191
                                                                                                               [EerLer Daly rmovoclen for
                                                                                                              J Enrployeer by Fneror Horns
                                                                                                                 Ice Eartr Day cro roirardrrat Row
                                                                                                                             P051101

                                                  Entclojee
                                                                                                 1)elrer Retroactive          Creole       rert ene
                                       Greu3s for Trrnecalj                  Create hf109
                                           Avlomotron                     Tenevords P1853)1
                                                                                                      Pay Pries
                                                                                                      P109701                      188.4)1
                                               P199201



                        Pa róli

                                                                                                                                                Rimini Street
                                                                  Cnernla9IalRái Sba.*2009




                                                  PTX_0199 Page 46 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 48 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                                                          (PREYOt.LAYROLIao0OR t6.PPINT PAVME7I1S 'AO IOR'.IA JOUF.'1L
                         PRI'CESS      T rrLL             PNTRESPAYROLLRORSMNAIUP12AT.



                                       an,... 000.00900                                                p pç.a P.çppW Cot. 0p Pwnl O.p,r$
                                                                                                     I rna .rC Ply tP7 OflOt( ol.4#Cl
                                               stect ayroi o           Procoss                 -Çr.,I Poorol Popolo, 07730e?
                                                           P07210                              .0,0,1 Sororroy Poyo' Cog.dor 3073013
                                                                                               .0,0,1 OCA r.rouclos ftooS 0091.10073033
                                                                                               -OmI WA Roontor 0073062
                                                                                               .0ml 001.4 144 047100100 SInOrtof 0073117
                                             04.4001ro P,5ncN IO for Proposunlg                 rrrnlr.00ol Tu 000100cC1 r,rWyTor LO 5073170
                                                           0072 10                             .0ml taL. SlImy .rC Met.,. 0.911e 0073000
                         Payro                                                                 4',,,l Pp,oOO VO.00P0J4,OS 0005 loo 000. 007003
                         Maraer                                                                .0,0,1 PopS '/,cj,ná 0.4.1ra Ia 001400
                                             0.Payocerrt PorC Optons In,                       .Pl P.45.00 710dm Jou loi 0065 0 0644 s1,4          307403
                                                          Payroll IO                           .0,0,1 P0,000 '/O0O4lt.l0l05 Sono'4.y loI 0800301100
                                                                                               .0,0,1 P,,.01 Troni,. )O.,nS SIPOSy coo Torn 007090
                                                           P07210                              .rrpl p0,45 00CM, jourci $..oc.y Io. COO. toi Ta.. OCTiet




                                                                                 Proc.. Pro Ocn,. JourS (etc.              Plnn.l. Fell 000OrO

                                             P,nt Payrnonoo TOO                        P,ess Journal                      SobmIt Fis    IJpoul.
                                                 Poy,nA IO                           Entons To, Popool I)                     for P,yoI ID
                                                  P07210                                  P07210                                P07210




                         P- roll
                                                                                                                                                     Rimini Street
                                                                  C0flfoJentia R*1i Sheet 2009




                                                  PTX_0199 Page 47 of 98
Highly Confidential Information Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 49 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                     Financi&s   Distribution   Manufacturing    General Business     Sales Force   Service   CRM




                                                Supply Chain Management
                                                                                                       Rimini Street
                                                         coqrdiag- Riiii Steut 2039




                                                PTX_0199 Page 48 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 50 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         ENb-1'o-ÈNb:pROEss
                         Orei                                                              Aryeo Order F.M ì,,rent
                         Manager

                         Customer                   M*g.Su..                                Monogo
                         Sos Rep                        Od.t$                               ReIunne

                         Sates
                                                    Manate SaleS
                         Contract                     Contreas
                         Manager

                         Inventory
                         Manager

                                                                                In YO CC
                         Manager                                              CoItany.nn



                         Customer                                                  L       Pay Irr-roce

                         AccoUntS
                         Recervab4e
                         Manager &
                                                                                                          fiore,,
                                                                                                          Payments
                                                                                                                     . Plaaçet,R
                                                                                                                         SbOcco,
                                                                                                                                   *    Monago
                                                                                                                                       Credd aid
                                                                                                                                       Cokorron,

                        [J   FrOCrn   SPPOCOt ny Ecoraon Ore S.iICn 0,0cr ManrtrnrCni



                                                                                                                                          Rimini Street
                                                                            Crer1o1erdiRlerirrI Street 2009




                                                             PTX_0199 Page 49 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 51 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         END-TO-END PROCESS
                         Order
                                                                                           Aeye. O.Je. Fitk,wi4
                         Manager

                         Customer                 Manage Soles                              vianage
                         Ses Rep                     Ordeis                                 Rein

                                                  Manage Sales
                         Contract
                                                    Ccctieos
                         Manager

                         Inventory
                                                               fled ese feces
                         Manager

                         BIIrg                                                   InnivOS
                         Manager                                                cwtnm.ee


                         Cusomei                                                    L      Pay lnsis

                         Accounts
                         Receivable
                         Manager
                                                                                                L      Pisces,
                                                                                                       Cuslnouee
                                                                                                       Paycanla
                                                                                                                   ManageAJR
                                                                                                                               -
                                                                                                                                     lanogo
                                                                                                                                   Cred and
                                                                                                                                   CoIeCvcns
                                                                                                                                               I,
                         j   Flocon SuÇpOr.O1 Oi E904tcno One AcCounts RCceano


                                                                                                                                      Rimini Street
                                                                           cr.i- Ri iii Sliest 2009




                                                              PTX_0199 Page 50 of 98
Highly Confidential Information Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 52 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                          Frocéss ànd Rote Scenarios

                                                                            Sell from !nnenrO'y


                                              Soll rOC.rlorer       --.    Sell Oirect-SPp kern
                         Customer
                         Servrce
                         Moriorger                                        Sell MakOO-OrdOr lien,


                                                                          Press Coxre'or Crcf r
                                                                               wth Rossn
                                              CuSlonrer Retare -
                                                                   e       rocoss Cuscrrrn Crocit
                                                                              orthout ReSin


                         Costumer
                         Service                                          Process Transfer Orders
                                               firmai Transfer
                                                                            seth Reçepr Rorrnng
                         Rep


                         Sales Order Mana.ement
                        LJ Jsor ROO
                            FnWn,re.Cn.



                                                                                                    Rlmin Street
                                                         CoCo1enUelRrri SSvel 2009




                                            PTX_0199 Page 51 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 53 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         SELL1FROM INVENTORY
                         Customer      Enter Seien   EeWWFlhnk.t
                         Service         Qoote          0,0er
                         Marrager        P4210          P4210

                                       PIeu Selee    Relee!e Sa'..
                                         Orerte         Quote
                         Customer                                         Entnrr.Ctrooy.r 04
                                         P42565        P020111                                         PIBa Salen Orde,
                                                                            Conca Orad
                         Service                                            Sales Ordat
                                                                                                $ Ackrerutndg.ereurt
                         Rep                         ReBane Order
                                                          1014
                                                        P43C73
                                                                     -         P4210               I       P42562



                                                       Poyase
                                                      Backorder!
                                                        P42117


                         '%'ehouse
                         Operator                                                 .    I     Prerl Standard
                                                                                                P4cc S ç        .           Court
                                                                                                                           Sloptoent




                                                                                  .
                                                                                                P42520                      P4205
                         Custthier                                                                                              +
                                                                                           Oendrolo IroO4C(r5             P1114 IfloBice
                         Seice                                                             So,,, Sacs Orders         rout Sir pConrmr
                         Manager i                                                                                        p42560

                          cc0unts
                         Receivable                                                                              J
                                                                                                                            P09801
                         Manager

                        Sales Order Mana.ément

                                                                                                                                     Rimini Street
                                                       Contlde,di Reu1i Street 2009




                                                PTX_0199 Page 52 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 54 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                           ELL DIRECT SHIP ITEM
                         Customer
                         Service
                                      r     Quote
                                            P4210
                                                            Eot«Rtanka
                                                                Order
                                                                F4210
                         Manager a
                                          Prat Sotes        Releas, Sotes
                                            Quote      -+      Quote                 Enter, Change. or
                         Customer          P42565             P420111                                            Pral Soles Order
                                                                                      Canco Ored
                         Service
                                                                                       Sales Order
                                                                                                         -+                    nel
                                                            Re lease UÑe r                                            P42560
                         Rep                                     1042                     P0210
                                                               P43070



                                                                             torrarase Items to Dyed S4sio
                                                                              Pm P,4ChC 0060' 043r.x
                         Hoyer
                                                                             'POE Pu'0055000400 P.oncle 4254Cl
                                                                             .toOr5Pool... Conc Romots Otgeor
                                                                             .O'nV VOthttF04fC

                         Customer
                                                                                                         P401 01/04Go                ncrate fevotcOs
                         Service                                                                     frein     up Confem 6V from Soles Ordre
                         Manager                                                                             P42560              P42 Ct.))



                         Receivacte                                                                                                  Pottnsoicu
                                                                                                                                       ROCOOl
                         Manager

                        Sales Order Mana ement

                                                                                                                                             Rimini Street
                                                               conr,ltential-Rle*aI Street 2009




                                                    PTX_0199 Page 53 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 55 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                        =
                            SELLMÁkE-TO-ORDER ITEM
                         Customer                EnterSalas         ErlerBIankel
                         Service                   Qaote               Oree,
                         Manager                   P4210               P4210
                                                                                                          I
                         Customer
                         Service
                         Rep
                                                              ReleacoSaes Ouate P42Ot1


                                                               R*Ue Croon Hold a4340
                                                                                             a     Enlea. ChanO..
                                                                                                    Cancel Dr-ecl
                                                                                                     Sales Orda,
                                                                                                        Pa? IC
                                                                                                                       a Pflnt Saie; Orae
                                                                                                                          .hÇlarawlerigeme,*
                                                                                                                               P42565


                                                                                           lMflfl acer
                            Produclion
                            Manager


                            Warehouse                                                                                           CavErn
                                                                                                                               Shpcenl
                            Operator                                                                                             F4205

                              stomerT
                                                                                                     Pant Spreco           Generale Invoces
                         Service         -
                                                                                                   frOe, Chip CsnFem       Ire,,, Cale, Ont,,,
                         Manager,                                                                        P425E                  P1,se)
                         Acunts
                                                                                                                             Foil Invoices
                         Recervable
                         Manager r.          -

                        Sales Ordér Mana.ement

                                                                                                                                         Rimini Street
                                                                     CoinEdert, -   rl Sbeet200S




                                                         PTX_0199 Page 54 of 98
Highly Confidential Information Attorneys Eyes Only
            Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 56 of 99

     Oracle JD Edwards Enterprise One
     Rapid Start Fundamentals




                          PRO          S CUSTOMER dRbiTWlT RETJRN:
                          Customer           Enfer Crert
                          Service         Oede freie Hintofy
                          Manager              P42 IO



                          Customer           PÑ,IRItrm
                          Service           ArjflroIfzaeOn
                          Rep                  1542565




                          Vraehoeise      CofenSse,eeet _J Tf.rlevseloey          uoe IfleOfl4y
                          Operator             P4205            P4113                P4112



                          Customer                                                 Print CeedI       G.n.mat. k,Oce.
                          Service                                                     Memo        -b for Cmiii Omens
                          Marlagerre.'                                              R42060               R426


                         Acccunts
                         Recmvable                                                                                     Post Iflvfl.CPS
                                                                                                                         609801
                         Manager


                         -Sales Order Manas ement

                                                                                                                               Rimini Street
                                                               Canfelentrsi- Arne SLiseL 2009




                                                        PTX_0199 Page 55 of 98
Highly Confidentia' Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 57 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PROCESS CUSTOMR REDlT WITHOUT RETURN
                         CuStomer         Ente, CreOt
                         Setvtce        Önde from Hstmy
                         Marrager           P42 ro



                         Customer
                         Service
                         Rep


                         Warehouse
                         Operator


                         Customer                                         PnnI Cr.9t      Generar. hyø.cOS
                         Scra,ce
                         Marrogor ,u.
                                                                           Mento
                                                                           R42566
                                                                                       e lot Creai Omets
                                                                                              R42600



                         Acccunts
                                                                                                             Post lflVOt.OS
                         Recevable                                                                               oveoi
                         Malager


                        Sales Ordér Mana ement

                                                                                                                     Rimini Street
                                                          Conrd,nUaIRm Street 2009




                                                     PTX_0199 Page 56 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 58 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PROCESS TRANSFER ORDERS WITH RECEIPT RdUTING
                         Custorrer        Enter Transfer
                         Serruce              Grau,
                         Rep                 P4210


                                                               StCvC Ont
                         Wehouse                           Dispesben Transfer
                         Operator                                Order
                                                                P425O


                         Accounts                               Conten,
                                                                                    Mtth Prech
                         Payable     ¿_                        Shp.nsenr
                                                                r4205
                                                                                p     Order
                                                                                      R.sepls
                         SpecialsI                                                     POd fi


                         Accounts
                                                                                                    POSI Vftrrci'reiS
                         Payable
                                                                                                       R09801
                         Mavager


                         Accounts                          Generare Invoices
                                                            tren T arroger           Pirol Intorn    Pirol lnsn.CnS
                         Recevable
                                                               Orders                  R42085          ROOPOl
                                                                R.12 000



                        Sales Order Maria ement

                                                                                                                        RImInI Street

                                                               Ccnfrdenti Rro*ni SPeat 2009




                                                    PTX_0199 Page 57 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 59 of 99


    Oracle JD Edwards Enterprise One
     Rapid Start Fundamentals



                                                               .                L-L
                            ND-TO-END PROCESS

                         Procurement
                                                                                Analyze Procarement a   Materas Mana5nrrevrt
                         VP



                          Procurement                  Secevd
                          Fner

                                                                         Procere Goces
                         8uer                                             Ced Serones




                          nuentor                                                           Recete. Goods            Manaoc
                          Aanager                                                            and Sereines



                         AccouriI
                         Paade                                                                                    Serle Seed   Mou0nAP
                                                                                                                     Invmcae   Balaises
                         tAan3ger


                       [J dinners Sr,po.in vi Edoirviso Oreo Irventeet Maneconrnr


                                                                                                                                   Rimini Street
                                                                           CmrotMt ttrinl Streev 2009




                                                            PTX_0199 Page 58 of 98
Highly Confidential Information Afforneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 60 of 99


    Orade JD Edwards Enterprise One
    Rapid Start Fundamentals




                        Process and RoleScenarios




                         Warehouse                Pet trrency Items         Manege Irwenc'y
                         Operato                        Away                       Cotai




                        Invento      Mana'ement
                       [1 UsurPen
                          Fn'p('n


                                                       coflrd.M1Rr*1i SUe.I 2009




                                             PTX_0199 Page 59 of 98
Highly Confidential Information - Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 61 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PUT INVENTOY ÍTEMS AWAY



                         Waretouse                  Ien5fy Item
                                                                          Transte ItwenLor y
                         Operatot                   Avatlablitty
                                                                               P4113
                                                     P41202




                         (eneral
                         Ledger                                                                Post Isseflto'y
                                                                                               TrarIsacliOns
                          ctountant                                                               RQ981




                        Inventó       Manas -ment

                                                                                                                 Rimini Street
                                                              ConteJenUalriì Sbeet2009




                                               PTX_0199 Page 60 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 62 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                             MÂAGE INVENTORY COUNT

                                                                                                           lroef Correct
                             Worchousc      $oltci heir, ret       PnrI Co.et                              Oaritb0i loi
                             Oortoc         hvan!c C.i,inl
                                                04 air
                                                               p    SObajo
                                                                    P41240
                                                                                     Renew litri,
                                                                                  Sohirrierifor Cri.rnl
                                                                                       041242
                                                                                                          Recorered liber
                                                                                                           arid Letaicoro
                                                                                                                            ijpdaieCccritshO
                                                                                                                                Inverinry
                                                                                                                                 P41240
                                                                                                              P4 1240




                             Warehouse                                                                    ApproseCycle
                                                                                                              COoSt
                             Uorurgr1                                                                         r4 1240




                             Gereral
                             Leer                                                                                            Posi frreracry
                              ountant                                                                                        Trarsactrorl
                                                                                                                                R0080l


                        R1                                                                                                                     I
                         Invento         Mana.ement

                                                                                                                                   Rimini Streel
                                                                    Contde,rdal prdd SUoni 2009




                                                         PTX_0199 Page 61 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 63 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                        END-To-END PROCESS
                         Prcduci
                         Management                                               AnaI)re Piodiwi Manemnt




                                                                                                  Manage New
                                                                                                    Piodati
                                                                         Manage Non               rnroducbcfl
                         Prcdt,1                  PAanag. PiOd
                                                                           ProdiSI
                         Maniger                     POnlalo
                                                                         Oenopnioni
                                                                                                  Manage geni
                                                                                                  Maslei Daia


                                                                                                       t
                         Prcduct
                                                                                               Manage Prn&Ct
                         Design                                                                  Chancos
                         Engineer    n)
                                                                                                       I
                         Cont Enginee                                                             Entimeic
                                                                                                PCdoCt Costa




                        j F,00X5 SDEOOOt ni EnicOeze One Moiacneng PiOd.Ct Dala     Qnnilra



                                                                                                                Rimini Street
                                                                    corjnntj - Ri* Stiiset 2009




                                                        PTX_0199 Page 62 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 64 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         Pro           jnd Role Scenarios


                            Product Mane                    Mitn DiOOato   ÌLOo
                                                                   Laa




                                                            DoeIop hew PrOOuct
                                                             Costs erri Perform
                                                            Penoc Cosi Pcilsp




                        Manùfacturin.        Prodùct Datá Manaiement
                        D    LuO ROO




                                                            dsiR         Set 2009




                                                 PTX_0199 Page 63 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 65 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         MAIÑTAIN DISCRETE ITEM DATA

                                                                           Ad 01 %4od.fy OEIls of
                                                                                  Natenal
                                                                                   '3002
                                               Create ce ModIfy
                         Froduct Manager         Ilenro r Itere               Adder ModIy Wortc
                                                  Macler rId
                                                                                 Certe. Dala
                                               BIwlctn Flare oem
                                                    Meolol                         '3003
                                                     P4101
                                                                           Add or Mod.fy ROI_lIn9
                                                                                IedroCl.Onc
                                                                                   '3003




                                                                                                                       Updalo'l5 nl
                                           Man:a.n 40010,01
                         Froduct             Roul.ng fo.
                                                                     00101e           NorlfyADpr000s      A10110,0      Ma01lat,,tfl
                         Desgn               Ençln000og
                                                                   Enncenng           tOol ECOc Need    Enerocrolg       Approrod
                                                                   Ctrane0rcec             AOortt      CrlandeOlders    Enneen-Q
                         Fngirrder          Cearoe 04015
                                                                      '40020               R40101         P40185       Chse0e0rdorc
                                               114000
                                                                                                                        11305103V



                                                                                                                                       I
                        Manufacturin. -.PròductData Mana.eriient

                                                                                                                              Rimini Street
                                                                    Conr.deiiItalRrn SVe.(2009




                                                     PTX_0199 Page 64 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 66 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         DEVELOP NEW PRODUCT COSTS AND PERFORM PERIOÒIC COST ROLLUPS



                                           RnCosbr.g Eoccpono
                                                   Ropod
                                                  R3S1




                         Ccst             c1 Mod?y o Review Cosi
                                         Con.ponooto on Now O,or,
                                                 p:s1o,
                                                                         C'at. S,nrcL,104 Cosi ROlop
                                                                                    Now I,n
                                                                                   RO i
                                                                                                        .   Ree,ew    ial.d $10040,0
                                                                                                                 Cc,:, for tom
                                                                                                                     P3(1O6




                                        Creole lire,, Repod io Vgoiole
                                        Crent, Poor Io
                                            CcsIso Iton, 1.40.'
                                                                lIno,
                                                                          F,evzu loin Costs sr Ile.,,
                                                                                   104go'               e     Renom flocon Coot,




                        Maniifacturin. - Product Data Mana.ement


                                                             confds1ial Al* Sussi 2009




                                              PTX_0199 Page 65 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 67 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                        END-TO-END PROCESS
                         Manufactunng                                                       400ljzo Frocu:ron
                         VP
                         rA]nurduring                    DeFine
                         Process                      ManofacKdì5g
                         Engnocr                      Erwrorwnern
                         Procor,                       Prothrctss
                         Master                        Sdeaulang
                         Sr-tedrrer                    end Conoin
                                          .
                                                                             Enna.eeMuirç.Tredtinr             I-
                                                                             Eoecol.Manaactulng Lot Booed
                                                                            EnecuteMa-sifectnnng. Flow Sored               Rocord
                         Productior                                                                                 -n   lrOduCUOr
                                                                                                                                       cbs.
                         Mannge                                       .4      Exoa,towanutactunng- Proons,                           Procknlion
                                                                                                               F
                                                                      ej       Eaton!. MacofGdorOg- ETO
                                                                                                               F
                                                                               Manage OLisIde PrOdfltiflg
                         Manutactrinrig
                         Cost                                                             Manage PretneCosre
                         Accottttar*
                         Qualty
                                                                                        Manage Ma rufactunrg Coolly
                         Engineer
                                                  L
                           Crones; sp000nj ny nFo.rnso One    0000,,rs -     or Floor


                                                                                                                                          Rimini Street
                                                                           0onf.i,n4i Rr*i St,eeI 2009




                                                             PTX_0199 Page 66 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 68 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                        .Process and sote Scenarios


                         Produclon
                         Marte Scheduler                    Rereuso MueIucroGOe1eß
                                                             5surrMrorus Repor*Ordo
                                                                              d Rçrort rn.1

                                      4*
                                                            CorrrpIoI.orru.




                         Msrwfocuring
                         Cost Accountat                      Creso 0-ucs rrd qecood
                                                            M,nuroctrsr,9journr,I Enrnos




                        Manufacturi          Sho. Floor
                       L] riser Ro.
                                      Or..



                                                                                              Rimini Street
                                                          Conr.d.nli Re*d SieeI 2009




                                                 PTX_0199 Page 67 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 69 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                                                                                                       Th

                         RELEASE MANUFACTURtNG ORDER                                SSUE MATERffiLS REPORTER
                         COMPLEFIONS'AND REPORT TIME
                                                Wo Od15
                                          C,c3td by SI
                                               Olders
                                               P31225

                                        Reee Welk Orders
                                                                       A118th l'elIO LOI nd
                                                                                                       IA,IyClsren             j


                                         Cro;I,dtlornMRP                                            St      IV    IrO,Oee          PreriWnelOedee
                                                                       Ra    IØ    n Wøek011Mf
                                                                                  R31410
                                                                                                 . 1011 yPflnI                         121413
                         Producion             P3411                                                      P31225
                         Matoi
                         ScheuIar       Merrr,&l; Cerele Week
                                                Oldee
                                               P48013


                                                                                                        l'alItai y Con,alele
                                                                                                           Week 011er
                                        Isso M8on
                                               creee
                                               P31113
                                                       IO V'oIk
                                                                  -.   E,rHaael Weekd
                                                                            On Wcrb Oroer
                                                                                    122
                                                                                                             P31114


                                                                                                       FolyCceeploto Welt
                                                                                                              Orde,




                        Manufacturin.   Sho. Floor

                                                                                                                                             Rimini Street
                                                                  Cfde,dR                 Skoel 2009




                                                 PTX_0199 Page 68 of 98
Highly Confidential Information Attorneys Eyes Only
            Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 70 of 99

     Oracle JD Edwards Enterprise One
     Rapid Start Fundamentals




                          CLOSE ORDERS AND RECORD MANUFACTURING JOURNAL ENTRIES




                                              C'nate P1001 Rpo.-t            Update iioO ierd        Cicale Journal EnO,.,
                                               Inc Marufacluno               û,irni,,00 dTinre in      liii Munr,fuulur orj
                                               Vii       JO. ccii             Ci'caied lu Wurf.        Vs,an5. Cluse
                                                     Enlies                                               Werl, Order
                         Manutoctunng                R31l,O                        1131422                  1131004
                         CostAccountiL

                                             Create Journal Entries         Creare 301x001 Fornes
                                                fo' Conipletud               (or Vicll,.ln.Process
                                               f3fluIuClor,'rQ WOO,          Ma'rufacOnnQ W011c
                                                                                   Cider,
                                                   11311f 02A                     1131ff OPA




                         Manufacturin. - Sho. Floor;
                                                                                                                              Rimini Street
                                                                ci1.d.nliaIR.n Stseet 2OO




                                            PTX_0199 Page 69 of 98
Highly Confidential Information Attorneys' Eyes Only
            Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 71 of 99


     Oracle JD Edwards Enterprise One
     Rapid Start Fundamentals



                                                      jL
                         ENDI'O-END PROCESS
                          Supply Chau
                          PIurrnirr VP                                           Anl5. Supmty Chan Plarwng


                         Demand                         Promise     Cdle Data and
                                                                    General, DemanC
                          Plainer                       Orders
                                                                       Fceecast


                         In.entOly                                                         Plan nnW.y
                         Planner                                                               Locell


                         Supply                                                               Concia:.
                                                                                           lialnQo Ntwm,rS
                         Planner                                                                Pliai

                         Sales and
                                                                                          Create Satea sad
                         Operations.
                         Planner        -



                         ProdLIcbon &                                                     Ron and Aralya            Reosa ana
                         Distribution                                                 o      ProøucXlOr/       . Imulemenl Pan
                         Planner                                                          C,rinbiinion l510n      Rccnnnnmnndanicie

                         Production
                                                                                                                                      Srlsodmlo
                         Master                                                                                                       Strop Fool
                         ScleduIer

                            PmocessSiroomnnC St Ereenomne Ono




                                                                                                                                           Rimini Streei
                                                                       onitaentiaIRr*ri Street 2009




                                                                PTX_0199 Page 70 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 72 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         Process and Role Scenarios




                         Meeter Scheduler                  PVeø,o L)e.aIed ørCcut.
                                                          F1UIrnntMete, Sthod4e.
                                                         arwi Ma,ecaÌs Reqtrremerl Ian




                         Re.üirernent Plännin.
                        Li UorRoo
                          Fn,.. Orrw


                                                                                         Rimini Street
                                                      ccnfdeda1 Rl Stieet 2009




                                            PTX_0199 Page 71 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 73 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PREPARE DETAILED FORECAST, FULFILLMENT MASTER SCFÍÙLE, AND
                         MATERIALS REQUIREMENT PLAN



                                                                                                       Review and Cflav)e
                                               ExIrntAn%.I Sieer
                                                                      Crealo DotalodForonae
                                                                             RJ45O
                                                                                                 w     Detened r,eca,t r
                                                                                                     iMr.ess   mii M New
                                                                                                       Faecastv Itanna ly
                                                                                                            P31y0


                         Marier Scpeduler
                                            Create Mevior POducboo    PO,nOw arre Pnorbro kÇ'S
                                                Srirodale MPS)               M055aics
                                                     R3'82                       4fl


                                            Create Detaried Sdredul
                                              )MRa wrirot erthied
                                                      MPS




                        Re. uirements Plannin.

                                                                                                                            Rimini Street




                                                PTX_0199 Page 72 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 74 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                                                ts
                         END-TO-END PROCESS

                         Puremeflt                                              Analyze Pr      ment ana Matena Managmrent
                         VP



                         Procurement                  SaurcO and
                         Manager                    Enab'.Snupediars




                                                                          Procane Goods
                         Buer                                              and Sneunnay




                         IneflIOry                                                            RecsFna Goods         Mnnae
                         Manager                                                               and Screens



                         ACcOufltb
                         Payate                                                              Manage Ir-reDuces
                                                                                                                    Manage
                                                                                                                   Payments
                                                                                                                              j
                         Plonogcr


                           FmonnrD Scp9nete by grcreprcn One byncrumenmerl and Snbno.*xt Manbynment
                                                                                                                                        I
                                                                                                                                  Rimini Street
                                                                           Cuntd,ndal- R,ìd Street 2009




                                                            PTX_0199 Page 73 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 75 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                                                1fl
                          END-1O.ENÓ PROCESS

                          PrLrCfl1Cflt
                                                                         Analyze Omnnwemont ann Materas Manqecrenl
                          VP



                          Prurernent               Sace a.d
                          Manager                EneSppIezs


                                                                   Plocere Goons
                          Buyer                                     end Seronoc




                          Inventary                                                 ReceAe Goons            PFanaoo
                          Manager                                                    wsdSorns              Moinnals


                                                                                          i
                         Accountn
                         Payable                                                   Abnige ernste, j                       'np
                         Manager
                                                                                                           Peym,rde
                                                                                                                      {
                        D Focosn Sreoena en Ennwnse Onn Acnnsnts Pyabe


                                                                                                                          Rimini Strec




                                                        PTX_0199 Page 74 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 76 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         Process and Role Scenarios

                                                                            Su.roiiroct
                                                                              ders




                                                               M Puiciase'tenIlOefltO(/
                         Purchasing                                                          Return Item Io
                         Manager            NeOusiticos                                        Supplier
                                                                       Piictiase Non
                                                                     Invoitory lterrr wTh
                                                                          Wûy Motc*r


                                                                       Puth030 Non-
                                                                     lnirMtto'y Item w,tpi
                                                                        ?Way Miil'i



                         Prôcurementand Subcontract Mana. ement
                          USM MOO

                                    ('fl.


                                                                                                              Rimini Street'
                                                          Conr.dential Rie*O Shieet 2009




                                              PTX_0199 Page 75 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 77 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         MANAGE REdÚISITIÖÑ




                                                                  Ccoto PIstha3o
                         Euyer             Eti   Reguso.1
                                                 P43b10
                                                             -0     Ordo Irom
                                                                     Requsjcn
                                                                                   Rece ve Requisdion
                                                                                        P43è20
                                                                     P43EOO




                        Procurement and Subcorthact Mana enient

                                                                                                        Rimini Stret
                                                          confd1Rr    SUeet 2009




                                          PTX_0199 Page 76 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 78 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                                           e

                         CREATE SUBCONTRACT ORDERS



                                             Subconlract
                         Euyer
                                       E1I
                                                               0 PnnI Suoca,lraCl
                                                                      Ordr
                                                                                    Process Prcç)esS
                                                                                       Pamer*s
                                             P1310                     R435cID           P4314




                         Accouflis
                         Payabie                                                                        Pool Vssclws 101
                                                                                                       SuOcorItfact Orders
                         Manager
                                                                                                            R0900l




                        Procurement and Subcontract Mana emént

                                                                                                                     Rimini Street
                                                                CR*




                                              PTX_0199 Page 77 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 79 of 99


    Oracle JO Edwards Enterprise One
    Rapid Start Fundamentals




                         PURCHASE NVENTORY ITEM
                         Procu rem ont
                                          Enter Buret
                         Manager             Ondets
                                              45tO


                                             pion                                            Rnv.ow and
                                                                                                                      I-
                                                          Et« ParchaOl      Pnt Pnrnd*s.                       ChaiS. Parchan.
                                         Receoonr1s toc                                     nicare PIOCtIOSe
                         Buyer            tnwonSa3 Item
                                                             Orders            Ordeno
                                                                                               Ordels
                                                                                                                   Ordens
                                                             04310             043500                               P4210
                                              P3'O1                                            P43025



                         Wehouse                                                           Receae PuncOmi
                                                                                               Ordens
                         Operator                                                               54312


                         AccOuntS
                                                                                                -t
                                                                                            Pool Puarhas,
                                                                                                                PCSI VCc1,dr5
                         Payabte                                                            O,dnr Rnro.pto
                                                                                                                   0019801
                         Msragor                                                               009401



                         Accounts                                                          Mtc, PurcIlasn
                         PayaiIe                                                           Ordntto Vosther
                         Specit.si                                                               04 Il
                                                                                                                                 I
                        Procurement.and Subcontract Mana.ement

                                                                                                                      Rimini Street
                                                           Contidandial RÌd SUoni 2009




                                                      PTX_0199 Page 78 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 80 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                          PURCHASE N0FsJ-lNVENTÓR't ITEM WITH 3-WAY MATCH
                         Procurement           EnLier ElSoknl
                         Manager                  Orders
                                                  4310



                                                                EnrinPsrei*$.
                         Buyer
                                                                   P4310



                                                                                                ReCel,e Pi$Ctras.
                         Warehouse
                                                                                                    Ondee
                         Operator                                                                    01312



                         Acc C Li ill S                                                          POSI Patha*e
                                                                                                                    Pc$t VOrOhCrS
                         Payable                                                                 Order Rnrnipts
                                                                                                                       ROSEO i
                         Morrogcr                                                                    RC9I0l


                         ACCCUPt3                                                               Maid Pisthase
                         Payable                                                                Order lo Voocher
                         SpccìalsZ        r,                                                          '0411
                                                                                                                                    .9

                        Procurementand Subcontract Mana.ement

                                                                                                                          Rimini Street
                                                                  CQnIiion&ì R*It Street 2009




                                                         PTX_0199 Page 79 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 81 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PURÖHASE NOÑ-INVENTORY ITEM WiTH 2-WAY MATCH
                         Procurement      Ente, EIurnl
                         Malager            Otits
                                             4310



                                                         En,.cPwchas.   Print Pueinas   Cttng. Pdnás.
                         Buyer                               O.4o.i
                                                            P43 10        R43500              l310



                         Warehouse
                         Operator


                         Accounts
                                                                                                            Pest Veucisern
                         Payable                                                                               RCd6O1
                         Manager
                                      <



                         AccOunlO                                                       Mate, Pactta
                         Payable                                                        Order lo Voirdlef
                         Special-si                                                           Q4 Il



                        Procurement: and Subcontract Mana ement.:

                                                                                                                   Rimini Street
                                                           C Ri




                                                    PTX_0199 Page 80 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 82 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         RETURN ITEM TO UPPLIER7
                         Procejrement
                         Matager



                                                  Ejve Purchase       p,ettPurth,ii
                                                      Ooio               Otm
                                                     P4310               R43500



                          arehotse                                                        ConfVm St4pmenI
                         Operator                                                     -        P4312



                         Accounts                                                          POSI PzcJtase
                                                                                                              Post VOebCIo
                         Payable                                                              O,de,,
                                                                                                                 000801
                         Morragcr                                                             RC98Ö1


                                                                                            MaI01 Cret
                         Acccunto                                                          Memo to       en
                         Payable                                                           PraseCrdee
                         Speckitot                                                            Petnupti
                                                                                                   Il

                        Procurement arid Subcontract Mana. ement
                                                                                                                    Rimini Street
                                                    Corejential Riitt Sheet 2009




                                           PTX_0199 Page 81 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 83 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                     Financials   Distribution   Manufacturing   General Business   Sales Force   Service   CRM




                                        Customer Relationship Management
                                                                                                     Rimini Street
                                                          conrd«,UaIRh   8Uu.tO9




                                                  PTX_0199 Page 82 of 98
Highly Confidential Information Attorneys Eyes Only
            Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 84 of 99

     Oracle JD Edwards Enterprise One
     Rapid Start Fundamentals



                                              AkA
                           END-TO-END PROCESS
                           Customer
                           Service    V                                             Myze Cuorom Service




                           Call Center                  Can Cenle
                           Manager                       aia9eiv.fli


                           Customer
                           Service
                           Manager
                                                                             Cuitorn.rCe
                                                                               DeIrry
                                                                                            -0     Craso-Sea
                                                                                                      Ups'


                          Field Serrice
                                                                             Serv.ce riar                           Field S rock
                          Manager                                            Manageaient
                                                                                                  Service Dehary
                                                                                                                   Managorooni


                                                                                   I
                           Serv,ce                                              Sera,ce
                           Contract                                            Aaleeaionr
                          Manager                                             Management



                        L_j Piaceva spmraa as E   ipovo One Cavo ECcieri


                                                                                                                               Rimini Street
                                                                       CoviteJeaUR*il 35ee12009




                                                         PTX_0199 Page 83 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 85 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                    IkiE:I.-
                         Process and Ro!eScenarios




                        C2se Mana ement
                             ao o
                          EOpR Cno


                                                                        Rimini Street




                                               PTX_0199 Page 84 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 86 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         ENTER BASIC CASEIÑhDR          JON




                         Casomcr                                    Roanaw. Revise and
                         Sorvco                 Erle. Case
                                                                      Marnage Coses
                                                 P17500
                         M3nager                                         P 7500




                        Case Marta.ement
                                                                                         Rtmini Street
                                                Curd,.diI- RieoI Sljet2OOg




                                           PTX_0199 Page 85 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 87 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         END-TÒ-END PRàCESS
                          SrdesVP                                                                 AnolSzo Salon


                                                                                               Mana9eSaton
                                                                          UaraQe Sales
                                                                              BoOgel
                                                                                           -. Irnearilices
                                                                                                         rd
                          Saies                      Sato.
                          Monogor
                                                  Pningid
                                                   Forecaster.      Ji.iarogo Sales
                                                                                 rabos

                          Product                                Manses
                          Pri:g                              Pord   Zn and



                          Panner                                 Man.g.
                          Manager                                Painus

                                                                          Ma'ag. Solo.            Mari.9.         Porno, toadS
                                                                                                                                 4   Peopo..
                          Saies Rep                                       Teintai es ano         Customer                            soto
                                                                             ACCOOria           k,foeenal.on      Oppodorstion

                          Customer                                                                                                        lc    Sa
                          SalesRep í.
                          Sates
                                                                                                                                        s Cenate Sales
                          C)tracl                                                                                                              Coritroorn
                          Manager         -


                        fl Frocarn Sposlls5 o Ernaceso One SOies Foso Al,rritor


                                                                                                                                                  Rimini Street
                                                                             Co.t.ied.al R1Ed Sls..t 2009




                                                             PTX_0199 Page 86 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 88 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         Process and Role Scenarios


                         5z11c5                               Cea5f y aec
                         Repre5entativo       an Coeort      øçipcetunbcs Croate     pCsto Foeccast and   Pert Cn-DomanO
                                          SaTes Leøs         SOles QoCftc CreOlo         P,peWre               Repoets
                                                                    Oede




                         Ma,keting
                         Adn1in1raLor     Cplure Leads




                                                                                                                           I
                        Sales Force Automation
                            Ue Re e
                           Enere,eecne




                                                          conrds1alRrn st,..L 200g




                                             PTX_0199 Page 87 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 89 of 99


    Oracle JO Edwards Enterprise One
    Rapid Start Fundamentals




                         CAPTÚRE LEADS




                                                     M-a.aIIEnter Load5
                                                         PBOlO

                        Markeng
                        Admnstrdtor
                                                       mpert Leaafroo
                                                        Sptho
                                                        Ieoio




                        Sales Force Automation

                                                                            Imni Strect
                                                 coardtaI-p(    SUu,12009




                                           PTX_0199 Page 88 of 98
Highly Confidential Information - Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 90 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                         T1îb,                                                                 'Tt

                         QUALIFY AND CONVERT SALES LADS

                                                                                                   Review Custern.
                                            Answer Quatiflcaticn       Conved me LOSO 50            ItromsatlOn artd
                                                Ou.st.or.s         . an Onper5an.ry        . ConnorS Froapevt to
                                                IOCdo1U                    imucoelu                 CUSIO.f
                                                                                                      P9OCBOIO
                         Sues
                         Rcprsontutivc

                                                                                                   Review and tJpta:e    Assign Saies Team to
                                                                                                   Contast InfornsaIon        Customer
                                                                                                      POOCT080                P9DeC




                         CuEtomor Service
                        Repcesentatie                                                                                         Encr CredA
                                                                                                                         infomsaliCu P9OCAOa




                                                                                                                                                r,
                        Sales Force Automatioñ

                                                                                                                                       Rimini Street
                                                                   ConfvJerdaI Ri*il StiesS 2009




                                                   PTX_0199 Page 89 of 98
Highly Confidential Information Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 91 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         QLfFYAND MANIGE OPPORTUN TIES CREATE SALES QbÌES CREATEObERS


                                           OyOppatandy by
                                                 Answerng
                                               Ouoltalcn
                                                 P9OCB0
                                                                                                 CerneraI. Propo,l
                                                                                             . Irren Saals Crete
                                                                                                      P42101
                        Sates
                        Represe ntalije       b nl. Ct f oc           General. Salo, Crido
                                               OçøO4ety                  ter Oppoetiocty
                                                 P9&20                      P91CB020

                                      :!                                                        Generate Sales Oder
                                                                                                 lernt Saals Grole



                                           Poclorm   .tCfledl
                                               P92020




                                                                                                                             I,
                        Sales Forcé Automation

                                                                                                                      Rimini Street
                                                         Cenr.j.reiaf- R*4 SUeel 200g




                                           PTX_0199 Page 90 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 92 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals



                                a i,
                        :UPDATE FORECAST AND PIPELINE




                        Sales                            of
                                                                                                                Ppo no cf
                        Representative
                                         OppnIosed            J
                                                               I
                                                                   OoperK,nmoslo       Freeze orec.nI
                                                                                                        Poe
                                                                                                              por1une5
                                         QOPOb.b.Iy Pe.call          Foresasi            pcceceo
                                            PÇ0B060                 F9)CB003




                        Salés Foróe Automation

                                                                                                                     Rimini Street'
                                                              confds,Rì'il St,eL2CO9




                                                PTX_0199 Page 91 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 93 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         PRIÑT OÑ-DEMAÑD REPÔRTS




                                                  Se es es«t
                                            Fnll Ceo a1sddcss lifoqmcboe RsceA'oe
                                            -Inni        cl C.slcne, end Centers IelOn,cba., RSOCAO8C-E
                                            .Pnnl Coonct Stennecy RglrAO8UG
                         Sales              F,Itl Contonee. Cooloçi lofornoçon ASOCOI liA
                                            Pnnl Enrplcyoe Phcare Lkt S9DCAOIO1E
                         RepresentaUve
                                            F,lnl Leads Sy Leas Source ROCEOiOC
                                            -mil Leed Adezs lnfcrnsaton R5OCB5i6
                                            Pnnl Opportorety ProSateSesby Sales RooresentabneRSOCBWOC
                                             Fonr PiOri,ç Planner RyAlO
                                            .Ini! Fron °or.sesl SlaIs Repon! R9OCBS




                        Sales Force AutomatiOn

                                                                                                          Rimini Street
                                                        Ccnfd.M R*SUeet2OO9




                                           PTX_0199 Page 92 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 94 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                        FEND-TO-END PROCESS
                             Customer
                             Service  V                                                       Aflame Customer Senrc




                             Call Center                  Call Center
                             Manager                      Musa9eri.00t



                             Customer
                             Service                                                   Cvuton,n Ce            Cou-SelI er
                                                                                         Del nerv                Upnl
                             Manager


                             Field Service

                                                                                                       H
                             Manager                                                   Smecetdeo                               Froid Smcv
                                                                                                             Sanavo Dolvorv
                                                                                       Manag,fllafl!                          Idanagomont



                             Service
                             Contract                                                   AQreo font
                             Manager                                                   Munuganrennr

                        'n
                              Flanes SDruso5 on E   mumm Ono Serrare l.iaranoensernl




                                                                                                                                        Rimini Street




                                                             PTX_0199 Page 93 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 95 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                          Procéss and Role Scenarlôs


                                                              Creai. Eupmerr
                                                              Liaste, from Sales
                                                                    Order


                          Customer
                          Setce                                   C,tare
                          Msnoger                             SarsrcConOact
                                                                  Warry


                                                            Croate Sirvo. Orders




                         Servicè Mana.ement
                        D Lh.r000
                        - Fn.pr (tn.

                                                                                   Rimini Street
                                                       ConrdMialR* St,eeI 2009




                                            PTX_0199 Page 94 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 96 of 99

    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         CREAtE EQUIPMENT MASTER FROM SALES ORDER




                         Cuslorner     C'cao Laos Zoco,         Co.r0nrn Shrpprs9On
                                                                                             C,olo Eqoiporrarl
                                                                                                                     Roosow Eriorp,nont
                         Service       Ucn0 Invor cry horn           Solos C'rlor
                                                                                             ioI.rÇ9ocord lrn          lAScio, Recarsi
                         Menoger                                                               Sa os Orces
                                             F42 r 01                 P42191                                               P1701
                                                                                                 017024          I




                        Service Manà emènt

                                                                                                                                    Rimini Street
                                                             ConrdeiaI         Stseal 2009




                                            PTX_0199 Page 95 of 98
Highly Confidential Information Attorneys' Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 97 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         CREATE SERVIC/CÒÑTRACT WARAÑTY




                         Customer                                      Rovuew arid Ijanago
                         Service                Add S.r. Co,e,c         Serviva Cortarle
                                                     P 1720
                         Manager                                             Phh'20




                        Service Manà'ement

                                                                                             Rimini Street
                                                     cnThis,1i Rflin Sheet 2009




                                             PTX_0199 Page 96 of 98
Highly Confidential Information Attorneys Eyes Only
           Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 98 of 99


    Oracle JD Edwards Enterprise One
    Rapid Start Fundamentals




                         CREATE SERVICE ORDERS




                                                                  Add Parts ra Servos
                                                             .1        to1s Order
                                                                      PSßCDC2O
                         Customer
                                             Creare Sercce
                         Servrce                    Order
                         Manager                 PS2O
                                                                  Add .abol to Servce
                                                                        ov1v Order
                                                                      P9ocUco




                                                                                               0
                        Servicé Manè.ement

                                                                                        Rimini Street'




                                         PTX_0199 Page 97 of 98
Highly Confidential Information - Attorneys' Eyes Only
          Case 2:10-cv-00106-LRH-VCF Document 696-10 Filed 08/14/15 Page 99 of 99




                                  ¡mini Street
                              Redefining Enterprise Software Support



                                Questions/Discussion



                                                                        Rirnin Street
                                          ccnrdentjlRinìii Strest2009




                                   PTX_0199 Page 98 of 98                                    97

Highly Confidential Information Attorneys Eyes Only                                     RS1O311229O
